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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


 In re                                                     Chapter 11

 TPC GROUP INC, et al.,                                    Bankr. Case No. 22-10493 (CTG)

                       Debtors.1                           Jointly Administered


 BAYSIDE CAPITAL, INC. and                                 Bankr. Adv. Proc. No. 22-50372 (CTG)
 CERBERUS CAPITAL
 MANAGEMENT, L.P.,

                       Plaintiffs-Appellants,              Civ. Action No. 22-cv-927 (RGA)

 v.

 TPC GROUP INC.,

                       Defendant-Appellee,

 -and-

 THE AD HOC NOTEHOLDER GROUP,

                       Intervenor-Defendant-
                       Appellee.


           APPELLANTS’ DESIGNATION OF THE RECORD ON APPEAL AND
            STATEMENT OF THE ISSUES TO BE PRESENTED ON APPEAL

         Appellants Bayside Capital, Inc. and Cerberus Capital Management, L.P. (the

“Appellants”), pursuant to Federal Rule of Bankruptcy Procedure 8009(a)(1)(A), hereby designate




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  The Debtors in these Chapter 11 cases, and the last four digits of their federal tax identification numbers, are: TPC
Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313); Texas Butylene Chemical Corporation
(7440); Texas Olefins Domestic International Sales Corporation (4241); TPC Phoenix Fuels LLC (9133); Port
Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each Debtor’s corporate headquarters and mailing address
is 500 Dallas St., Suite 2000, Houston, Texas 77042.


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the following items2 to be included in the record on appeal and state the issues to be presented on

appeal:

      I.      Designation of Items to Be Included in the Record on Appeal

      Docket No. and Case or         Date Filed                              Description
         Adversary No.
    [D.I. 1, Case No. 22-10493]        6/1/2022      Chapter 11 Voluntary Petition
                                                     Declaration of Robert A. Del Genio in Support of
                                       6/1/2022
    [D.I. 27, Case No. 22-10493]                     Debtors’ Chapter 11 Petitions and First Day Motions
                                                     Motion to Allow Debtors Motion for Entry of Interim
                                                     and Final Orders (I) Authorizing the Debtors to (A)
                                                     Obtain Senior Secured Priming Superpriority
                                                     Postpetition Financing and (B) Use Cash Collateral, (II)
                                       6/1/2022      Granting Liens and Providing Claims with Superpriority
                                                     Administrative Expense Status, (III) Granting Adequate
                                                     Protection to the Prepetition Secured Parties, (IV)
                                                     Modifying the Automatic Stay, and (V) Granting
    [D.I. 36, Case No. 22-10493]                     Related Relief Filed by TPC Group Inc.
                                                     Declaration of Zul Jamal in Support of Debtors’ Motion
                                       6/1/2022
    [D.I. 68, Case No. 22-10493]                     for Entry of Interim and Final Orders
                                                     Objection of the Ad Hoc Group of Non-Consenting
                                       6/2/2022      Noteholders to Debtors' Motion for Entry of Interim and
    [D.I. 76, Case No. 22-10493]                     Final Orders Approving DIP Financing
    [A.D.I. 3, Adv. No. 22-
                                       6/2/2022      [SEALED] Complaint for Declaratory Judgment
    50372]
    [A.D.I. 4, Adv. No. 22-                          [SEALED] Ad Hoc Group of Non-Consenting
                                       6/2/2022
    50372]                                           Noteholders' Motion for Summary Judgment
                                                     [SEALED] Declaration of Aaron L. Renenger in
    [A.D.I. 5, Adv. No. 22-            6/2/2022      Support of the Ad Hoc Group of Non-Consenting
    50372]                                           Noteholders' Motion for Summary Judgment
    [D.I. 148, Case No. 22-                          Transcript of First Day Hearing Before the Honorable
                                       6/3/2022
    10493]                                           Craig T. Goldblatt
                                                     Letter to U.S. National Bank dated April 26, 2022, as
    [A.D.I. 17-4, Adv. No. 22-         6/9/2022      Exhibit D to Plaintiffs’ Opening Brief in Support of
    50372]                                           Motion for Summary Judgment
    [A.D.I. 40, Adv. No. 22-                         TPC Group Inc’s Brief in Opposition to Plaintiffs
                                      6/17/2022
    50372]                                           Motion for Summary Judgment
    [A.D.I. 44, Adv. No. 22-                         Ad Hoc Noteholder Group’s Cross-Motion for
                                      6/17/2022
    50372]                                           Summary Judgment
    [A.D.I. 51, Adv. No. 22-
                                      6/22/2022      [SEALED] Declaration of Oscar Shine
    50372]

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  Unless otherwise indicated, the designation of each item herein includes any exhibits and/or attachments filed
together with that item under the same docket number. The designation also includes the sealed version of any
document that was filed under seal.



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   Docket No. and Case or    Date Filed                        Description
      Adversary No.
                                          Declaration of Oscar Shine in Support of Plaintiffs-
                                          Counterclaim Defendants’ Consolidated Memorandum
                             6/24/2022
 [A.D.I. 55, Adv. No. 22-                 of Law in Further Support of Their Motion for
 50372]                                   Summary Judgment
                                          Plaintiffs-Counterclaim Defendants' Consolidated
                                          Memorandum of Law in Further Support of Their
                             6/28/2022
 [A.D.I. 64, Adv. No. 22-                 Motion for Summary Judgment and In Opposition to
 50372]                                   Intervenor-Defendant's Motion for Summary Judgment,
 [A.D.I. 69, Adv. No. 22-                 Transcript of Summary Judgment Hearing Before the
                              7/1/2022
 50372]                                   Honorable Craig T. Goldblatt
 [A.D.I. 72, Adv. No. 22-
                              7/6/2022    Memorandum Opinion
 50372]
 [A.D.I. 74, Adv. No. 22-
                              7/8/2022    Order Resolving Pending Motions
 50372]
 [A.D.I. 75, Adv. No. 22-
                              7/8/2022    Judgment
 50372]
 [A.D.I. 76, Adv. No. 22-
                              7/8/2022    Notice of Appeal
 50372]
                                          Motion of Plaintiffs for Stay of Effectiveness and
                                          Enforcement or Order and Judgment Pending Appeal
                              7/8/2022
 [A.D.I. 78, Adv. No. 22-                 and Suspension of Other Proceedings Pursuant to
 50372]                                   Bankruptcy Rule 8007
 [A.D.I. 80, Adv. No. 22-
                              7/8/2022    Emergency Motion to Shorten
 50372]
                                          Declaration of Zul Jamal in Support of Debtors and
 [A.D.I. 84, Adv. No. 22-    7/11/2022    Intervenor Defendants’ Consolidated Response to
 50372]                                   Plaintiffs’ Motion for Stay
 [A.D.I. 85, Adv. No. 22-    7/11/2022    Declaration of Robert Del Genio in Support of Debtors
 50372]                                   and Intervenor Defendant's Consolidated Response to
                                          Plaintiffs' Emergency Motion for Stay of Effectiveness
                                          and Enforcement of Order and Judgment Pending
                                          Appeal and Suspension of Other Proceedings
 [A.D.I. 86, Adv. No. 22-    7/11/2022    Debtors' and Intervenor Defendant's Consolidated
 50372]                                   Response to Plaintiffs' Emergency Motion for Stay of
                                          Effectiveness and Enforcement of Order and Judgment
                                          Pending Appeal and Suspension of Other Proceedings
 [A.D.I. 87, Adv. No. 22-
                             7/11/2022    Opinion Denying Motion for Stay Pending Appeal
 50372]
 [A.D.I. 88, Adv. No. 22-
                             7/11/2022    Order Denying Motion for Stay Pending Appeal
 50372]
                                          Omnibus Reply of the Ad Hoc Noteholder Group to
 [D.I. 423, Case No. 22-     7/12/2022    Objections to Debtors’ Motion for Entry of Interim and
 10493]                                   Final Orders




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   II.        Statement of the Issues to be Presented on Appeal

         1.      On July 6, 2022, the Bankruptcy Court entered the Memorandum Opinion,

A.D.I. 72 (the “Opinion”), addressing the parties’ various motions in the above-captioned

adversary proceeding (Adv. Pro. No. 22-50372). On July 8, 2022, the Bankruptcy Court entered

the Order Resolving Pending Motions, A.D.I. 74 (the “Order”), and Judgment, A.D.I. 75, in the

above-captioned adversary proceeding, which, among other things, denied Plaintiffs’ Motion for

Summary Judgment, A.D.I. 4., granted the Ad Hoc Noteholder Group’s Cross-Motion for

Summary Judgment, A.D.I. 43, and entered judgment in favor of Defendants on Plaintiffs’ claims.

         2.      The Bankruptcy Court’s Order and Judgment should be reversed on appeal because,

among other things, the Bankruptcy Court misinterpreted the unambiguous terms of the governing

contracts, misapplied New York law, improperly invoked industry custom and usage and

commercial reasonableness to create and incorrectly resolve an ambiguity, and prematurely

granted summary judgment after identifying an ambiguity no party had raised.

         3.      There are four issues in this appeal:

                 a.     First, whether the Bankruptcy Court erred in holding that the amendments

and supplements that subordinated Appellants’ debt did not violate the governing indenture, when

that indenture unambiguously prohibited nonconsensual changes to provisions of the indenture

and the related intercreditor agreement dealing with the application of proceeds of Collateral.

                 b.     Second, whether the Bankruptcy Court erred in failing to apply the only on-

point New York precedent properly to a contract governed by New York law

                 c.     Third, whether the Bankruptcy Court erred in relying on industry custom

and usage, as well as the Court’s own assessment of commercial reasonableness, in interpreting

an indenture the parties agreed was unambiguous, particularly when no discovery had been taken,



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no pertinent evidence was in the record, and all parties agreed that industry custom and usage were

irrelevant.

                 d.     Fourth, whether the Bankruptcy Court erred in granting summary judgment

prior to discovery after it incorrectly concluded that the governing indenture was ambiguous.

          III.   Certificate Regarding Transcripts

          Pursuant to Rule 8009(b)(1)(B) of the Federal Rules of Bankruptcy Procedure,

Appellants hereby file this certificate stating that Appellants are not ordering any transcripts. All

transcripts have been prepared and are filed on the docket and are designated in the foregoing

designation of the record.

                                             *    *   *

          Appellants reserve any and all rights to amend this Designation of Record on Appeal and

Statement of the Issues to Be Presented on Appeal, each as set forth herein, including, without

limitation, to identify and to include additional issues and items for inclusion in the record on

appeal.



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 Dated:   July 22, 2022              Respectfully submitted,

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